Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 1 of 30 PageID 5868



                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA


   OPHELIA PARKER, and JOSEPH NASO,
   individually and on behalf of all others
   similarly situated,

   Plaintiffs,
                                              Case No. 6:16-cv-01193-CEM-DAB
   v.

   UNIVERSAL PICTURES, a division of
   UNIVERSAL CITY STUDIOS, LLC;
   LEGEND PICTURES, LLC; LEGENDARY
   PICTURES FUNDING, LLC; LEGENDARY
   ANALYTICS, LLC; and HANDSTACK,
   P.B.C.,

   Defendants.
   _____________________________________/

  PLAINTIFFS’ UNOPPOSED MOTION FOR FINAL APPROVAL OF CLASS ACTION
               SETTLEMENT AND SUPPORTING MEMORANDUM
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 2 of 30 PageID 5869



                                                  TABLE OF CONTENTS

 TABLE OF AUTHORITIES .......................................................................................................... i
 I. INTRODUCTION ...................................................................................................................... 1
 II. NATURE OF THE LITIGATION ............................................................................................ 2
 III. SUMMARY OF THE PRELIMINARILY APPROVED SETTLEMENT ............................. 5
 IV. THE SETTLEMENT SHOULD RECEIVE FINAL APPROVAL BECAUSE IT IS FAIR,
     ADEQUATE, AND REASONABLE .................................................................................... 13
 V. THE NOTICE PLAN SATISFIED RULE 23 AND DUE PROCESS ................................... 22
 VI. CONCLUSION ...................................................................................................................... 24




                                                                    i
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 3 of 30 PageID 5870



                                                  TABLE OF AUTHORITIES

                                                                   CASES

 ACA Int'l v. FCC, 885 F.3d 687 (D.C. Cir. 2018) ........................................................... 4, 5, 14, 19

 Access Now, Inc. v. Claire’s Stores, Inc., No. 00-14017-CIV-MOORE, 2002 U.S. Dist. LEXIS

     28975 (S.D. Fla. 2002) ........................................................................................................... 13

 Adams v. AllianceOne Receivables Mgmt., Inc., No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137

     (S.D. Cal. 2012) ..................................................................................................................... 18

 Behrens v. Wometco Enters., Inc., 118 F.R.D. 534, 542 (S.D. Fla. 1988) ,.................................. 17

 Bell Atl. Corp. v. Bolger, 2 F.3d 1304, 1313-14 (3d Cir. 1993) .................................................. 20

 Bennett v. Behring Corp., 737 F.2d 982 (11th Cir. 1984) .................................................... passim

 Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 1:00-CV-2838-WBH, 2008 U.S. Dist.

     LEXIS 121093 (N.D. Ga. 2008) ...................................................................................... 16, 21

 Couser v. Comenity Bank, 125 F. Supp. 3d 1034 (S.D. Cal. 2015) ............................................. 17

 Cotton v. Hinton, 559 F.2d 1326 (5th Cir. 1977) ......................................................................... 13

 Garret v. Sharps Compliance, Inc., No. 1:10-cv-04030, Dkt. No. 65 (N.D. Ill. 2012) ............... 18

 Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215 (N.D. Ill. 2016) .......................................... 17

 Glasser v. Hilton Grand Vacations Co., LLC, 341 F. Supp. 3d 1305 (M.D. Fla. 2018) ...............15

 Grant v. Ocwen Loan Servicing, LLC, No. 3:15-cv-01376-J-34, 2019, U.S. Dist. LEXIS 14673

     (M.D. Fla. 2019) .................................................................................................................... 14

 Haight v. Bluestem Brands, Inc., No. 613CV1400ORL28KRS, 2015 WL 12830482, (M.D. Fla.

     2015) ...................................................................................................................................... 15

 Hashw v. Dep’t Stores Nat’l Bank, 2016 U.S. Dist. LEXIS 61004 (D. Minn. 2016)................... 18

 In re Capital One Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d 781 (N.D. Ill. 2015)............... 18

 In re Domestic Air Transp. Antitrust Litig ................................................................................... 14

 In re Smith, 926 F.2d 1027 (11th Cir. 1991)................................................................................. 13


                                                                        ii
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 4 of 30 PageID 5871



 Ingram v. Coca-Cola Co., 200 F.R.D. 685 (N.D. Ga. 2001).................................................... 16, 22

 Isby v. Bayh, 75 F.3d 1191, 1200 (7th Cir. 1996)......................................................................... 17

 Manouchehri v. Styles for Less, Inc., 2016 U.S. Dist. LEXIS 80038 (S.D. Cal. 2016) ............... 18

 Morgan v. Pub. Storage, 301 F. Supp. 3d 1237 (S.D. Fla. 2016) ..................................................23

 Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306 (1950) ....................................... 11, 22

 Ressler v. Jacobson, 822 F. Supp. 1551 (M.D. Fla. 1992) ........................................................... 14

 Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460 (6th Cir. 2017). 15

 Spillman v. RPM Pizza, LLC, 2013 U.S. Dist. LEXIS 72947 (M.D. La. May 23, 2013) ........... 18

 Stein v. Monterey Fin. Servs., Inc., No. 2:13-CV-01336, 2017 WL 412874 (N.D. Ala. 2017) .. 15

 Thompson v. Metropolitan Life Ins. Co., 216 F.R.D. 55 (S.D.N.Y. 2003) .................................. 16

 United States v. Derenak, 27 F. Supp. 2d 1300 (M.D. Fla. 1998) ............................................... 23

 Weigner v. New York, 852 F.2d 646 (2d Cir. 1988) ..................................................................... 23

 Wright v. Nationstar Mortg. LLC, 2016 U.S. Dist. LEXIS 115729 (N.D. Ill. 2016) .................. 18



                 STATUTES, RULES, REGULATIONS, AND SECONDARY SOURCES

 47 C.F.R. §64.1200......................................................................................................................... 3

 Fed. R. Civ. P. 23 .................................................................................................................. passim

 Manual for Complex Litigation, Fourth, § 21.312 .................................................................. 11, 22

 Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. ............................................ passim




                                                                      iii
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 5 of 30 PageID 5872




 Plaintiffs Ophelia Parker and Joseph Naso (“Plaintiffs”) respectfully request that the Court grant

 final approval of the class action settlement in all material respects, find that the notice plan

 comported with due process, certify the settlement class, and order that the remainder of the

 Settlement be implemented in accordance with its terms. Ex. A (Joint Stipulation of Settlement

 and Release). The Parties and Settlement Administrator JND Legal Administration Co. (“JND”)

 have complied with the terms of the Stipulated Settlement and the Order granting preliminary

 approval, and no objections have been filed. See Doc. 169; Ex. B (Second Declaration of Edmund

 Normand) at ¶ 11; and Ex. C (Declaration of Jennifer Keough with JND) at ¶ 19 (noting no

 objections). This motion is unopposed by Defendants.

        I. INTRODUCTION

        This class action settlement resolves claims alleging that the Defendants, without consent,

 sent hundreds of thousands of spam text messages to consumers’ cellphones — despite the fact

 that many had registered on the National-Do-Not-Call list and without regard to the time of day or

 requests for opt-outing out of such messages — using an automatic telephone dialing system in

 violation of the Telephone Consumer Protection Act (“TCPA”). After years of hard-fought

 litigation taking place throughout the country, and multiple starts and stops at mediation, the

 instant settlement was achieved. This result provides outstanding relief to the Class pairing

 monetary relief that eclipses comparable TCPA settlements with injunctive relief that ensures that

 all consumers, not just those in the instant case, are protected from such behavior in the future.

        On April 4, 2018, the Court granted preliminary approval to the Settlement and directed

 the Parties’ to implement the Notice Plan. Doc. 169. The Notice Plan approved by the Court, and

 since effectuated, resulted in direct notice being provided to over 460,000 class members via

 electronic mail and/or mail notice, which was further supported by Internet publication on a

 dedicated Settlement website. Ex. C at ¶ 12. The deadline for the submission of objections has

 now passed and not a single objection has been submitted. Ex. C at ¶¶ 18-19. Given the strength


                                                  1
 Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 6 of 30 PageID 5873




      of the Settlement--creating a fund of up to $19,225,515.00 by which Class members can claim

      between $35.00 and $185.00 (Ex. A at ¶ 12) each and requiring injunctive relief that prevents the

      complained-of behavior from ever occurring again--the lack of opposition to the Settlement is not

      surprising. Ex. C at ¶¶ 17 and 19.

             The complexities, risks, and favorable results in this hard-fought litigation make the

      Settlement more than “fair, reasonable, and adequate” and fully warrant granting final approval.

      In particular, there were radical changes in the law in the midsts of litigation, due mostly to a

      landmark FCC ruling, discussed below. Counsel for Defendants, two of whom are multi-billion

      dollar entertainment companies represented by two large and powerful law firms, vigorously

      defended the claims in the action. Accordingly, motions practice and discovery were extensive and

      laborious. The similarly intense settlement negotiations were protracted, and settlement was

      reached at arms-length over multiple mediations spanning months of negotiations, under the

      supervision of two nationally-respected mediators. Based on these factors and as discussed in

      detail below, Plaintiffs Ophelia Parker and Joseph Naso now move the Court to grant final approval

      of the proposed Settlement.

II.      NATURE OF THE LITIGATION

             A. Nature Of The Claims

             This case asserts that the Defendants’ telemarketing solicitation practices violated multiple

      sections of the TCPA, 47 U.S.C. §227(b) and (c). See Doc. 97 (Third Amended Complaint). The

      TCPA prohibits, inter alia, calling a cell phone using an automatic telephone dialing system

      (“ATDS”) or an artificial or prerecorded voice, or initiating any telephone solicitation to a

      telephone subscriber who has registered his or her telephone number on the National Do-Not-Call

      Registry. See 47 U.S.C. 227(b)-(c). The TCPA’s accompanying regulations provide further

      restrictions, such as limiting the time of day telemarketers can make calls or send text messages


                                                      2
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 7 of 30 PageID 5874




 and requiring companies who initiate telemarketing to have internal procedures regarding opt-outs.

 See 47 C.F.R. §64.1200. A private right of action exists for such violations under 47 U.S.C. §

 227(b)(3) and (c)(5).

        Legendary and Universal jointly produced and marketed Warcraft, a major motion picture

 released in June 2016. Doc. 99 at ¶¶ 40-41. Legendary and Universal contracted with Handstack

 to effectuate a text-marketing campaign to promote Warcraft. See Doc. 112 at 3. Over a period

 shorter than a month, text messages were sent to approximately 466,779 telephone numbers. See

 Doc. 163-5, Ex. E (Anya Vekhvoskaya’s Supplemental Report). Plaintiffs alleged the following:

 Defendants did not verify if the telephone numbers receiving the text messages were on the

 National Do-Not-Call Registry (Doc. 97 at ¶ 92); many recipients replied requesting that

 Defendants cease sending them text messages, but were ignored (Doc. 97 at ¶ 202); and many

 recipients received text messages before 8:00 A.M. or after 9:00 P.M. local time (Doc. 97 at ¶

 191), all in violation of 47 U.S.C. §227(c) along with associated regulations located in 47 C.F.R.

 §64.1200. Plaintiffs also alleged that Defendants transmitted the text messages via an ATDS, in

 violation of 47 U.S.C. §227(b). Doc. 97 at ¶¶ 105-106.

        B. The Parties Engaged In Extensive Discovery And Motions Practice

        From the initial filing and service of the original complaint over three years ago, both sides

 vigorously litigated this case. Ex. B at ¶¶ 16-38. The litigation was contentious and motion-heavy

 from the outset. The Parties filed briefing on Defendant Universal’s initial motion to transfer

 venue. Ex. B at ¶ 17. The Parties were also required to address early-on Defendant Handstack’s

 default, which involved briefing, extensive communications and travel between the Parties, and a

 hearing before Magistrate Judge Irick. Ex. B at ¶¶ 18-26. In addition, there were multiple pleading

 amendments as discovery revealed additional defendants and causes of action; the operative




                                                  3
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 8 of 30 PageID 5875




 complaint at the time of settlement was the Third Amended Complaint. Doc. 97. Finally, following

 massive discovery efforts, the Parties fully briefed the issue of class certification, and the case

 settled on the eve of the summary judgment deadline. Ex. B at ¶¶ 28-29, and 47; and Ex. D at ¶

 19. (Declaration of Rodney Max).

        The Parties also engaged in large-scale discovery related to the merits of the various causes

 of action and the issue of class certification. Ex. B at ¶¶ 30-36. Plaintiffs sent Defendants eleven

 separate sets of Requests for Production, four separate sets of Interrogatories, and six separate sets

 of Requests for Admission. Ex. B at ¶ 31. Defendants produced hundreds of thousands of pages

 and tens of thousands of documents. Ex. B at ¶¶ 31-36. Defendants also served, and Plaintiffs’

 responded to, multiple Requests for Production and Interrogatories. Ex. B at ¶ 31. Plaintiffs

 engaged multiple experts, both consulting and testifying, to opine on the technical matters at issue

 in the case, in particular related to Defendant Handstack’s text messaging system, and the data

 related to the text messages themselves. Ex. B at ¶¶ 13, 33-36.

        The Parties conducted thirteen depositions, most lasting an entire day each, in

 Massachusetts, California, Florida, and Virginia, requiring significant travel and time to complete.

 See Doc. 171, Ex. F (Deposition Notices); Ex. B at ¶ 32. Some of the depositions involved detailed

 investigation of the technical aspects of Handstack’s text messaging system, including the data it

 compiled. Ex. B at ¶¶ 32-36 Other depositions involved understanding Defendant Legendary and

 Universal’s complex corporate structures, management oversight, the usage of analytic and

 personal information, and the relationships between the Parties.

        C. The Uncertain Legal Landscape

        The Parties have litigated this case in the face of uncertain, complex legal questions and

 recent changes to the TCPA landscape. The changes to the law included the landmark case of ACA




                                                   4
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 9 of 30 PageID 5876




 Int'l v. FCC, 885 F.3d 687 (D.C. Cir. 2018), where the D.C. Circuit invalidated aspects of the FCC

 2015 Declaratory Ruling, including, inter alia, the extent to which the 2015 Ruling interpreted the

 critical definition of an ATDS. Id. at 691. The D.C. Circuit also overruled FCC Orders to the extent

 that they seemingly held both that (i) a device qualifies as an ATDS only if it has the capacity to

 generate random or sequential numbers to be called and (ii) that a device qualifies as an ATDS

 even without such capacity, so long as it is capable of automatically dialing numbers from a pre-

 programmed database of numbers. Id. at 703. Whether or not Defendants utilized an ATDS in

 transmitting the text messages was a dispositive factor for Plaintiffs’ and the classes’ ATDS

 claims, the largest class claim in Plaintiffs’ complaint; therefore, the decision in ACA Int'l v. FCC

 introduced significant uncertainty over a year into the litigation and made achieving settlement

 more difficult.

        Other issues, including Defendant Handstack’s insolvency status, created uncertainty for

 collecting damages. Ex. B at ¶¶ 37-38. Factual issues were in dispute concerning whether

 Handstack was Defendant Universal’s and Legendary’s actual or apparent agent, or whether

 Universal and/or Legendary were otherwise liable for Defendant Handstack’s transmission of the

 text messages. Ex. B at ¶¶ 37-39. Legendary and Universal argued that they did not initiate the

 text messages, and disputed that they were liable under agency principles for Handstack’s actions.

 See Doc. 103 (Universal 8th affirmative defense) and Doc. 102 (Legendary 8th affirmative

 defense). Without agency or direct liability, Universal and Legendary, the only financially viable

 Defendants, could not be liable for the text message campaign. Ex. B at ¶¶ 37-38.

        D. The Settlement Negotiations Were Lengthy And Contentious

        The Settlement was the product of lengthy negotiations supervised by two experienced

 mediators, Jay Cohen and Rodney Max. See Ex. B at ¶¶ 40-41. Mr. Cohen and Mr. Max are well-




                                                  5
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 10 of 30 PageID 5877




  known nationally and internationally as highly-skilled mediators with experience in complex cases

  and class actions. See Ex. B at ¶¶ 40, 46, and Doc. 163. Settlement negotiations included three

  mediation sessions, as well as dozens of telephone conferences and emails between counsel for the

  Parties. Ex. B at ¶¶ 39-49.

         The first in-person mediation was held on April 26, 2018, before Mr. Cohen. See Ex. B at

  ¶ 40. Even though settlement discussions occurred prior to and following the first mediation, the

  Parties came to an impasse after the first formal session. See Doc 141. After six additional months

  of litigation, the Parties resumed settlement discussions. Ex. B at ¶¶ 39-40. Mediation sessions

  with Mr. Max were held on October 16, 2018, in Orlando, Florida, and on a Sunday, on October

  28, 2018, in Chicago, Illinois. Ex. B at ¶ 41. The Parties also participated in pre-mediation

  telephone calls with Mr. Max, and Mr. Max continued communications with the Parties after

  mediation. Ex. B at ¶ 42. It was not until the second and third mediations held before Mr. Max that

  the Parties made meaningful progress towards resolution. See Ex. D (Declaration of Rodney Max).

  The length of the negotiations was not due to a lack of effort or commitment by the Parties, but

  rather was impacted by the hard-fought litigation and the uncertainty over the likelihood of success

  of the various claims. Ex. B at ¶ 46.

         During the third mediation session, Mr. Max successfully assisted the Parties in structuring

  the terms of the Settlement to enable Plaintiffs and Defendants Universal and Legendary to reach

  general outlines of an agreement. Ex. B at ¶ 41. Still, it took two more weeks before the Parties

  finalized the terms of the Settlement. See Ex. B at ¶¶ 41 and 49. Settlement between all Parties

  was finalized on November 16, 2018. See Ex. B at ¶ 49. Mr. Max was instrumental in assessing

  the respective risks of settlement and ensuring that the procedural protections of Rule 23 were

  satisfied. See Ex. D. Importantly, the Parties did not negotiate or even discuss attorneys’ fees,




                                                   6
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 11 of 30 PageID 5878




       costs, or service awards until all other terms of the Settlement were agreed upon. Ex. B at ¶¶ 43,

       46, and 78; and see Ex. D at ¶ 20.

III.      SUMMARY OF THE PRELIMINARILY APPROVED SETTLEMENT

              A. Class Definitions

              The Preliminarily Certified Settlement Classes are defined as follows:

          1. The “ATDS Class” consists of all persons or entities within the United States who received

              one or more text messages as part of the Warcraft Text Messaging Campaign.

          2. The “Internal-Do-Not-Call Class” consists of all persons within the United States who

              received more than one text message to a residential line as part of the Warcraft Text

              Messaging Campaign, one of which was received after the Class Member submitted a

              request to not receive additional texts.

          3. The “National Do-Not-Call Class” consists of all persons within the United States who

              received more than one text message to a residential line as part of the Warcraft Text

              Messaging Campaign (a) in a 12-month period; and (b) more than 30 days after the

              placement of their number on the National Do-Not-Call Registry.

          4. The “Out of Time Class” consists of all persons within the United States who received

              more than one text message to a residential line as part of the Warcraft Text Messaging

              Campaign, at least one of which was before 8 A.M. or after 9 P.M. local time at the texted

              person’s location.

       Doc. 166 and Doc. 169. Excluded from the Settlement Classes are (1) the trial judge presiding over

       this case; (2) Defendants, as well as any parent, subsidiary, affiliate or control person of

       Defendants, and the officers, directors, agents, servants or employees of Defendants; (3) any of

       the Released Parties; (4) the immediate family of any such person(s); (5) any Settlement Class




                                                         7
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 12 of 30 PageID 5879




  Member who has timely opted out of the Settlement; and (6) Class Counsel, their employees, and

  their immediate family. Id.

         B. Benefits To The Class

               1. Monetary Payments

         The Settlement requires Legendary to provide $19,225,515.00 available for settlement of

  valid claims, settlement administration costs, attorneys’ fees, a service award to each Plaintiff, and

  costs and expenses of the litigation. Doc. 166 at 5.

         Each payment is separate and cumulative, so that each Class Member can receive up to a

  total of $185.00. Ex. A at ¶ 40. Each Settlement Class Member of the “ATDS Class” who submits

  a timely and valid claim form will receive a check in the amount of $35.00. Ex. A at ¶ 40. Each

  Settlement Class Member of the “Internal Do-Not-Call Class” who submits a timely and valid

  claim form will receive a check in the amount of $50.00. Ex. A at ¶ 40. Each Settlement Class

  Member of the “National Do-Not-Call Class” who submits a timely and valid claim form will

  receive a check in the amount of $50.00. Ex. A at ¶ 40. Each Settlement Class Member of the “Out

  of Time Class” who submits a timely and valid claim form will receive a check in the amount of

  $50.00. Ex. A at ¶ 40.

         Class Members are permitted to submit claims up through the Claims Deadline, which is

  July 10, 2019. Doc. 166 at 25. The amount available to each individual Class Member, if the

  Settlement is approved, is a minimum of $35 and maximum of $185, depending on the claimant’s

  membership status in each Class. Ex. B at ¶ 62. Though unlikely, the amount of the claims may be

  reduced pro-rata if the total amount required to pay each claim exceeds the net amount remaining

  available for such payments from the $19,225,515.00, after payment of: (1) the Settlement

  Administration Expenses (of which only $750,000.00 may be deducted from the total monetary




                                                    8
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 13 of 30 PageID 5880




  settlement, with Legendary remaining liable for any administration costs that so exceed this

  amount); (2) the Incentive Awards to the Class Representatives; and (3) the Fee Award. In such

  unlikely situation, each Settlement Class Member with an Approved Claim shall receive a pro-rata

  reduced amount for such Class Member’s Approved Claim, as determined by the remaining net

  balance. Given that an amount of $19,225,515.00 is available, it is almost certain that sufficient

  funds will be available to pay every claimant $35.00 and up to $185.00. Ex. B at ¶¶ 53, 63-65.

               2. Injunctive Relief

         In addition to securing monetary relief, the Settlement Agreement also requires Defendants

  to take affirmative steps to protect consumers’ privacy and ensure compliance with the TCPA

  going forward. Importantly, these steps result in the cessation of the offending behavior for all

  Class Members and serve to help prevent future consumers from experiencing such harms. Ex. A

  at ¶¶ 40-45. Specifically, as consideration for the Release contained in the Settlement, Defendant

  Handstack has agreed to the following changes in their business practices as injunctive relief:

                 a. Handstack, for itself or for any client, will not use the Cell Phone
                 Number List used in Warcraft texting campaign(“Cell Phone
                 Number List”) or any part of it to send or direct any text message
                 and will not provide the Cell phone Number List to any other person
                 or entity;

                 b. Should Handstack, on behalf of itself or for any client, carry out
                 any telemarketing using its web-based platform for sending to
                 groups and receiving return text messages (the “Handstack
                 Platform”) as used for the Warcraft Text Message Campaign, to a
                 cellular telephone service, Handstack shall be subject to the
                 following terms:

                        1. Handstack shall maintain and create a database of
                        individuals who have provided prior consent as required by
                        the TCPA or the rules and regulations promulgated
                        thereunder, to receive such calls/texts, including the date and
                        manner in which such consent was obtained;




                                                   9
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 14 of 30 PageID 5881




                          2. Handstack shall implement reasonable procedures to
                          ensure that no phone number on the National Do Not Call
                          Registry is called/texted absent prior express consent from
                          the person assigned the number; and

                          3. Handstack shall develop and implement a written TCPA
                          compliance policy, which includes maintaining an internal
                          opt-out list for any future telemarketing campaigns.

                   Unless such call/text is made to collect a debt owed to or guaranteed
                   by the United States, made for emergency purposes, made with prior
                   express consent of the called party, or otherwise made in compliance
                   with the TCPA, the rules and regulations promulgated thereunder,
                   and/or applicable case law, or made as an individual acting in the
                   course of a business in which Handstack has no control over or
                   authority to determine TCPA compliance or Handstack does not
                   initiate the sending of text messages.

  Ex. A at ¶¶ 41, 45.

         Furthermore, as consideration for the Release contained in the Settlement, Legendary and

  Universal have agreed to implement the following changes in connection with their actions and

  thus have agreed to the following injunctive relief:

                   a. The Legendary and Universal Defendants will neither send nor
                   direct any other person or entity to send any text messages to
                   promote or advertise the Warcraft film;

                   b. Legendary will not employ the services of Handstack to send text
                   messages to market, promote, publicize, or advertise any of
                   Defendants’ products or services.

  Ex. A at ¶ 42.

         C. Notice To The Classes

         The Notice Plan approved by the Court was designed to provide the best notice practicable.

  Doc. 166 and 169. Call logs identified approximately 466,779 unique cellular telephone numbers,

  which were used to identify the Settlement Class Members and provide direct notice. Ex. C at ¶¶

  5-7; see also Ex. B at ¶ 52. “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable




                                                    10
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 15 of 30 PageID 5882




  manner to all class members who would be bound by a proposed settlement, voluntary dismissal,

  or compromise regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).”

  Manual for Complex Litigation, Fourth, § 21.312. Reasonable notice is that which is “reasonably

  calculated, under all the circumstances, to apprise interested parties of the pendency of the action

  and afford them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank &

  Trust Co., 339 U.S. 306, 314 (1950).

         The Notice Plan consisted of email notice, direct mail notice and Internet notice. Ex. A at

  ¶ 53. Specifically, the Notice Plan entailed sending Notice to approximately 466,779 individuals

  by email. Ex. A at ¶ 53(b). To the extent that any email could not be delivered or resulted in a

  bounceback, the Settlement Administrator, to the extent reasonably possible, mailed a postcard

  containing notice to the Settlement Class Member. Id. at ¶ 53(c). The Notice also includes a

  Settlement Website maintained by the Settlement Administrator; the Settlement Website contains

  the Long-Form Notice, the Complaint, the Motion for Fee Award and the Motion for Final

  Approval, and key dates and deadlines for the claims process. Id. at ¶ 53(d). The claims process

  itself is simple and straightforward: Class Members need only submit a valid claim form, which is

  available on the Settlement Website, before the claims deadline (July 10, 2019), and they will

  receive their payment in an amount between $35 and $185, depending on which class they belong

  to.

         The Court-approved Notice Plan, as directed in its Preliminary Approval Order, has been

  fully implemented. Doc. 169. The Notice Plan, as discussed more fully below, satisfies Federal

  Rule of Civil Procedure 23.




                                                   11
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 16 of 30 PageID 5883




          D. Release

          In exchange for the benefits conferred by the Settlement, all Settlement Class Members

  who do not opt out will be deemed to have released all claims, whether known or unknown

  (including, but not limited to, unknown claims) that were asserted or could have been asserted in

  this case by Plaintiff or Settlement Class Members, directly against the Released Parties, including

  all claims arising out of, or relating to, in whole or in part, the claims or facts and circumstances

  asserted in this case, including, without limitation, any claims by Plaintiff or Settlement Class

  Members arising out of, or relating to, Defendants’ alleged violations of the TCPA during the class

  period, including the transmission of text messages regarding Warcraft between May 1, 2016 and

  June 31, 2016. See Ex. A at ¶ 70. The release is narrowly limited to only the claims and Defendants

  in this action. Ex. B at ¶ 53.

          E. Service Award To Class Representatives

          Plaintiffs have filed an Unopposed Motion for Attorneys’ Fees, Costs, Expenses and

  Service Awards, requesting a service award of $5,000.00 each to compensate them for their time,

  effort, and risk in prosecuting this litigation on behalf of the Class. Doc 171; Ex. B at ¶¶ 74-81.

  The service award will be in addition to the relief the Plaintiffs will otherwise be entitled to under

  the terms of the Settlement.

          F. Reasonable Attorneys’ Fees, Expenses And Costs Award

          The Settlement provides for the payment of Attorneys’ fees and expenses to Class Counsel.

  Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Costs, Expenses and Service Awards sought

  attorneys’ fees of 23.41% of the Settlement Fund, or $4,500,693.06, and reimbursement of costs

  and expenses of $171,967.10, pursuant to paragraph 67 of the Stipulated Settlement. See Doc. 171

  (Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Costs, Expenses and Service Awards); Ex. A




                                                    12
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 17 of 30 PageID 5884




      at ¶ 67. As discussed in Plaintiffs’ Motion, the requested fees, expenses and costs are reasonable

      as a percentage of the benefits conferred on the Classes, and are well within the range deemed

      reasonable in courts within this Circuit. Doc. 171. The Parties began negotiating the attorneys’

      fees, costs and expenses only after reaching an agreement on all other material terms of the

      Settlement. See Ex. B at ¶¶ 46 and 72.

IV.      THE SETTLEMENT SHOULD RECEIVE FINAL APPROVAL BECAUSE IT IS
         FAIR, ADEQUATE, AND REASONABLE

             Under Rule 23, this Court may approve a class settlement “on finding that it is fair,

      reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). Pursuant to Eleventh Circuit caselaw, courts

      must consider the following factors in determining whether a settlement is fair, reasonable, and

      adequate:

                     (1) the likelihood of success at trial; (2) the range of possible
                     recovery; (3) the point on or below the range of possible recovery at
                     which a settlement is fair, adequate and reasonable; (4) the
                     complexity, expense and duration of litigation; (5) the substance and
                     amount of opposition to the settlement; and (6) the stage of
                     proceedings at which the settlement was achieved.

      Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984)). Here, the Bennett factors clearly

      demonstrate that this Settlement is without doubt fair, adequate, and reasonable.

             A. The Bennett Factors Support Final Approval

             In considering the Bennett factors, “a class action should be approved so long as it is fair,

      adequate, reasonable, and not the product of collusion between the parties...Absent fraud, [the

      court] should be hesitant to substitute its own judgment. ...” Access Now, Inc. v. Claire’s Stores,

      Inc., No. 00-14017-CIV-MOORE, 2002 U.S. Dist. LEXIS 28975, at *12-13 (S.D. Fla. 2002)

      (citing Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977)); see also In re Smith, 926 F.2d

      1027, 1028 (11th Cir. 1991) (“A trial judge ought not to try a case during a settlement hearing and




                                                      13
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 18 of 30 PageID 5885




  should be hesitant to substitute his or her own judgement [of the negotiated terms].” As is set forth

  below, each of the Bennett factors strongly supports final approval of the Settlement.1

                 1. Likelihood of Success at Trial

         The risks facing Plaintiffs with continued litigation and trial weigh in favor of granting

  final approval. The “likelihood and extent of any recovery from the defendants absent . . .

  settlement” is an important factor in assessing the reasonableness of a settlement. See In re

  Domestic Air Transp. Antitrust Litig., 148 F.R.D. 297, 314 (N.D. Ga. 1993); see also Ressler v.

  Jacobson, 822 F. Supp. 1551, 1555 (M.D. Fla. 1992) (“A Court is to consider the likelihood of the

  plaintiff’s success on the merits of his claims against the amount and form of relief offered in the

  settlement before judging the fairness of the compromise.”).

         As mentioned above, the landmark case of ACA Int'l v. FCC, 885 F.3d 687 (D.C. Cir. 2018)

  cast significant doubt as to whether Plaintiffs (and the largest Class alleged in the Third Amended

  Complaint, the ATDS Class,) could recover under Sec. 227(b) of the TCPA for Defendants’

  alleged use of an ATDS. Not only did ACA Int’l change the landscape of the definition of an ATDS

  in ways unfavorable to Plaintiffs (since a ruling that Defendants did not use an ATDS would defeat

  Plaintiffs’ Sec. 227(b) claims) but the multitude of subsequent decisions interpreting it, often with

  different outcomes, added more uncertainty to the law that would determine liability for the largest

  Class in this action. Finally, the likely future FCC rulemaking on the definition of an ATDS also



  1
    Fed. R. Civ. P. 23(e) was amended, effective December 1, 2018, to include specific factors for
  courts to consider in determining if a settlement is fair, adequate and reasonable. See Fed. R. Civ.
  P. 23(e)(2). The factors used by courts in the Eleventh Circuit already encompass those factors
  enumerated in Rule 23(e) and those factors are therefore satisfied. See Grant v. Ocwen Loan
  Servicing, LLC, No. 3:15-cv-01376-J-34-PDB, 2019 U.S. Dist. LEXIS 14673, at *18 (M.D. Fla.
  Jan. 29, 2019) (noting that the Rule 23(e) factors “are analogous to several of the Bennett
  factors” and finding in favor of final approval under both Rule 23(e) and Bennett factors).




                                                   14
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 19 of 30 PageID 5886




  hung over the litigation, creating more uncertainty over the outcome of a trial. Ex. B at ¶¶ 37-38.

  See also Glasser v. Hilton Grand Vacations Co., LLC, 341 F. Supp. 3d 1305, 1314 (M.D. Fla.

  2018) (initiating dialing through a computerized system did not constitute the use of an ATDS in

  violation of the TCPA).

          Also, as described supra, each of the solvent Defendants denied responsibility and

  disputed that there was an agency relationship with Defendant Handstack. This cast doubt as to

  whether Plaintiffs and the Classes could recover any meaningful monetary relief, since Handstack

  was deemed to be insolvent. See Doc. 166 (J. Irick’s R&R) at 18 (“[E]ven if Plaintiffs were to

  prevail against Handstack, they will likely be unable to recover any statutory damages if they

  cannot establish that Universal and Legendary are vicariously liable for Handstack’s actions. ...

  Considering the nature and number of disputed issues, the undersigned finds that this factor weighs

  in favor of finding the settlement to be fair, adequate, and reasonable”). The Classes also risked

  not receiving any relief since class certification in TCPA cases is never a certainty. See, e.g.,

  Haight v. Bluestem Brands, Inc., No. 613CV1400ORL28KRS, 2015 WL 12830482, at *4-5 (M.D.

  Fla. 2015) (denying class certification where plaintiff failed to prove that “the identities of the

  persons ‘who received’ calls in violation of the TCPA [could] be identified”), report and

  recommendation adopted 2015 WL 12835994 (M.D. Fla. June 1, 2015); Stein v. Monterey Fin.

  Servs., Inc., No. 2:13-CV-01336-AKK, 2017 WL 412874, at *3–4 (N.D. Ala. 2017) (denying

  certification because plaintiff could not identify “individuals to whom [defendant] placed debt-

  collection calls”); see also Sandusky Wellness Ctr., LLC v. ASD Specialty Healthcare, Inc., 863

  F.3d 460, 470-72 (6th Cir. 2017) (affirming denial of certification where actual recipients of a fax

  could not be identified). The Parties had fully briefed the issue, and the Court had yet to rule on

  the motion.




                                                   15
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 20 of 30 PageID 5887




         Even if Plaintiffs and the Classes were to succeed at trial on the merits, the amount of

  monetary recovery is uncertain (since Sec. 227(c) allows recovery of “up to $500” per violation,

  but can and has resulted in low awards). 47 U.S.C § 227. Moreover, appeals would be guaranteed

  and any recovery would be delayed for years or could possibly be reversed. Because the value of

  the settlement (which includes significant monetary and powerful injunctive relief) is undeniably

  strong in comparison to the uncertainty of any recovery at trial, let alone one exceeding that

  achieved here, the first Bennett factor weighs in favor of approving the settlement.

                 2. Range of Possible Recovery and Point on or Below the Range at Which
                    Settlement is Fair, Adequate and Reasonable

         The second and third Bennett factors—the range of possible recovery and the point on or

  below the range at which a settlement is fair, adequate and reasonable—also weigh in favor of

  final approval. Courts often combine the analysis of these factors. Carpenters Health & Welfare

  Fund v. Coca-Cola Co., No. 1:00-CV-2838-WBH, 2008 U.S. Dist. LEXIS 121093, at *35 (N.D.

  Ga. Oct. 20, 2008). No set formula exists to determine where that point lies, “a just result is often

  no more than an arbitrary point between competing notions of reasonableness.” Bennett v. Behring

  Corp., 737 F.2d 982, 987 (11th Cir. 1984). Courts are guided by “the strong judicial policy favoring

  settlement as well as by the realization that compromise is the essence of settlement.” Bennett, 737

  F.2d at 986; see also Ingram v. Coca-Cola Co., 200 F.R.D. 685, 689 (N.D. Ga. 2001) (noting that

  application of the Bennett factors “often justifies approving settlements that are substantial

  compromises of the relief that could be obtained through litigation”)

         A settlement must be evaluated “in light of the attendant risks with litigation.” Thompson

  v. Metropolitan Life Ins. Co., 216 F.R.D. 55, 64 (S.D.N.Y. 2003); see also Bennett, 737 F.2d at

  986 (“[C]ompromise is the essence of settlement.”). “The essential point here is that the court

  should not reject a settlement solely because it does not provide a complete victory to plaintiffs,



                                                   16
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 21 of 30 PageID 5888




  for the essence of settlement is compromise.” Gehrich v. Chase Bank USA, N.A., 316 F.R.D. 215,

  228 (N.D. Ill. 2016) (approving $34 million TCPA settlement for class of more than 32 million

  individuals) (citing Isby v. Bayh, 75 F.3d 1191, 1200 (7th Cir. 1996)); see also Behrens v. Wometco

  Enters., Inc., 118 F.R.D. 534, 542 (S.D. Fla. 1988), aff’d, 899 F.2d 21 (11th Cir. 1990) (“[T]he

  fact that a proposed settlement amounts to only a fraction of the potential recovery does not mean

  the settlement is unfair or inadequate.”). As one court described:

                 Individual class members receive less than the maximum value of
                 their TCPA claims, but they receive a payout without having
                 suffered anything beyond a few unwanted calls or texts, they
                 receive it (reasonably) quickly, and they receive it without the time,
                 expense, and uncertainty of litigation. [Defendant], for its part,
                 buys peace and mitigates risk.

  Gehrich, 316 F.R.D. at 228.

         Similarly, in this case, Class Members are receiving a significant monetary payment (and

  valuable injunctive relief) by simply filling out a claim form, without having to endure litigation,

  including delays, costs and uncertainty of prevailing. Specifically, Class Members’ payouts are

  between $35 and $185, depending on which Class they belong to. Ex. B at ¶ 53. These numbers

  exceed the range of settlements deemed fair, reasonable and adequate by many courts in TCPA

  class actions. See Doc. 166 at 19 (“recovery under the TCPA and the Settlement Agreement and

  the possibility that Plaintiffs may recover nothing, the undersigned finds that these factors weigh

  in favor of finding the settlement to be fair, adequate, and reasonable) (citing In re Capital One

  Tel. Consumer Prot. Act Litig., 80 F. Supp. 3d 781, 789 (N.D. Ill. 2015) (finding that $34.60 per

  person falls “within the range of recoveries” in a TCPA class action)).

         Indeed, courts have found similar TCPA class action settlements that paid far less to meet

  the standards for final approval. See, e.g., Couser v. Comenity Bank, 125 F. Supp. 3d 1034 (S.D.

  Cal. 2015) (settlement amount favored final approval, with approximately $13.75 given per class



                                                   17
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 22 of 30 PageID 5889




  member); Manouchehri v. Styles for Less, Inc., 2016 U.S. Dist. LEXIS 80038, at *4 (S.D. Cal.

  June 20, 2016) (preliminarily approving settlement where class members could choose to receive

  either a $10 cash award or a $15 voucher); Spillman v. RPM Pizza, LLC, 2013 U.S. Dist. LEXIS

  72947 at *2, *9 (M.D. La. May 23, 2013) (final approval for up to $15 for each claimant); Garret

  v. Sharps Compliance, Inc., No. 1:10-cv-04030, Dkt. No. 65 (N.D. Ill. Feb. 23, 2012) (claimants

  received between $27.42 and $28.51); Hashw v. Dep’t Stores Nat’l Bank, 2016 U.S. Dist. LEXIS

  61004 (D. Minn. 2016) (final approval of settlement where “each claimant will receive

  approximately $33.20”); In re Capital One TCPA Litigation, 12-cv-10064 (MDL No. 2416) (N.D.

  Ill. Feb. 12, 2015) (granting final approval where each claimant would be awarded $39.66); Adams

  v. AllianceOne Receivables Mgmt., Inc., No. 3:08-cv-00248-JAH-WVG, Dkt. No. 137 (S.D. Cal.

  Sept. 28, 2012) (claimants received $40 each); Wright v. Nationstar Mortg. LLC, 2016 U.S. Dist.

  LEXIS 115729, *28 (N.D. Ill. 2016) (finally approving “$45.00 recovery per claimant”); Steinfeld

  v. Discover Fin. Servs., 2014 U.S. Dist. LEXIS 44855 at *4 and *11-12 (N.D. Cal. Mar. 31, 2014)

  ($46.98 to each claimant); see also Kolinek v. Walgreen Co., Case No.1:13-cv-04806 (N.D. Ill.)

  (final approval given in a TCPA class action settlement involving a $11 million fund for 9.2 million

  class members that resulted in payments of $30 per class member).

         Moreover, Class Members will substantively benefit from the injunctive relief obtained,

  which requires Defendants to take affirmative steps to protect consumers’ privacy and ensure

  compliance with the TCPA going forward. See Ex. C at ¶¶ 41-45 (Joint Stipulation of Settlement).

  The Settlement bars the usage of any further text message marketing to the Cell Phone Number

  List, protecting Class Members from suffering future harms. Id. It also requires Defendant

  Handstack, whose technology was used to send the telemarketing text messages in this case, for

  all future campaigns, (1) to maintain a list of those who have consented to text message marketing,




                                                   18
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 23 of 30 PageID 5890




  (2) to refrain from marketing to any individual on the National Do Not Call Registry, and (3) to

  deploy procedures to ensure that any individual who requests to not receive further text messages

  is able to opt-out. Id. In other words, the injunctive relief not only protect Class Members, but

  future consumers, from the harms alleged in this action.

            The $19,225,515.00 Settlement Fund and injunctive relief provided by the Stipulation

  represents a fair compromise given the risks and uncertainty regarding Plaintiffs’ and the Classes’

  claims.

                   3. The Complexity, Expense and Duration of Litigation

            This factor without a doubt supports final approval of the Settlement. As described above,

  this case was legally and factually complex, with multiple entities as Defendants. The legal

  complexity was due in part to the changes to controlling law with the ACA Int’l decision and others

  that followed, which affected the applicable definition of an ATDS, and therefore created

  uncertainty as to the strength of the ATDS claims. The case was factually complex as well, because

  of the complicated relationship between the Defendants Legendary and Universal, on the one hand,

  and Defendant Handstack, on the other, combined with the insolvent status of Defendant

  Handstack, the party to actual initiate the text messages at issue. Ex. B at ¶¶ 38.

            The Parties were engaged in contentious disputes and briefing from the outset, first with

  respect to Defendant Universal’s motion to transfer venue, then in responding to Defendant

  Handstack’s default, and finally in filing briefs on class certification. Ex. B at ¶ 17. Further,

  Plaintiffs sought to, and did, amend the complaint three times. Ex. B at ¶¶ 16-26. The discovery

  efforts on both sides were not only massive and time consuming, but involved technical and

  statistical analysis that required the retention and assistance of numerous experts in the fields of

  statistics and telecommunications technology. Ex. B at ¶¶ 33-36. This case involved over 400,000




                                                    19
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 24 of 30 PageID 5891




  telephone numbers and over 700,000 text messages; the associated data was copious to say the

  least and the analysis thereof painstaking.

         While engaged in such contentious and complex litigation, the Parties also engaged in in-

  depth settlement negotiations and mediations. After three formal mediation sessions, dozens of

  telephone calls and emails, and many draft stipulations, the Parties finally reached the instant

  Settlement. Ex. B at ¶¶ 39-49.

         Indeed, Class Counsel spent a substantial portion of their working hours on this case over

  the last three years. As described in Plaintiffs’ Motion for Attorneys’ Fees, the Class Counsel

  attorneys spent 3,600 hours litigating this case (a number which has gone up with the drafting and

  filing of this motion). Ex. B at ¶¶ 66-70. Class Counsel also spent $171,967.10 in out-of-pocket

  costs and expenses. Ex. B at ¶ 71. If litigation had continued, those hours would have continued

  to increase at an exponential rate as the Parties were preparing to file motions for Summary

  Judgment and as trial was fast approaching. Ex. B at ¶ 41; see also Doc. 166 (J. Irick’s R&R) at

  19 (“[C]onsidering the numerous claims and disputed issues, there is no doubt that continued

  litigation would be lengthy, expensive, and complex. Therefore, the undersigned finds that this

  factor weighs in favor of finding the settlement to be fair, adequate, and reasonable”). This was a

  case with such significant complexity, expense and time-spent that most small-firm lawyers will

  encounter such a case only a few times in their career. For these reasons, this factor strongly

  supports final approval.

                 4. The Substance and Amount of Opposition to the Settlement

         Remarkably, there was not a single objection filed to the Settlement, and of course this

  Motion for Final Approval is unopposed by Defendants. Ex. C at ¶ 19. Accordingly, this factor

  clearly favors final approval. Bell Atl. Corp. v. Bolger, 2 F.3d 1304, 1313-14 (3d Cir. 1993) (“Less




                                                   20
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 25 of 30 PageID 5892




  than 30 of approximately 1.1 million shareholders objected. … This small proportion of objectors

  does not favor derailing settlement.”; see also In Re Checking Account Overdraft Litigation, 830

  F. Supp. 2d 1330, 1336, n. 4 (S.D. Fla. 2011) (noting that the average number of objections per

  million dollars recovered is 4.7). Moreover, only 9 opt-outs have been filed. Such a small

  proportion of the total number of Class Members (466,847) is insignificant and further confirms

  the lack of opposition to the Settlement. See Ex. C at ¶ 17.

                 5. The Stage of Proceedings at which Settlement was Achieved

         This factor also clearly supports final approval, as this Settlement was reached after three

  years of intense litigation. Ex. B at ¶¶ 16-38. Courts look at this factor “to ensure that plaintiffs

  have had access to sufficient information to evaluate the case and to determine the adequacy of the

  settlement.” Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 1:00-CV-2838-WBH,

  2008 U.S. Dist. LEXIS 121093, at *40 (N.D. Ga. Oct. 20, 2008). The settlement in this case was

  reached after the completion of discovery, including expert disclosures by both sides, and even

  after class certification had been fully briefed. Ex. B at ¶ 29. Plaintiffs therefore had the

  information necessary to evaluate the strengths and weaknesses of the case, and ultimately to

  determine that the settlement was beneficial to the class. See Doc. 166 (J. Irick’s R&R) at 20

  (“[T]he parties had ample time to conduct discovery and judge the strengths and weaknesses of

  their respective positions. As such, the parties were prepared to make well-informed decisions

  concerning settlement. Therefore, the undersigned finds that this factor weighs in favor of finding

  the settlement to be fair, adequate, and reasonable.”)

         B. The Settlement Was The Result Of Arm’s-Length Negotiation Between The
            Parties With The Assistance Of An Experienced Mediator

         Again, this Settlement was negotiated with the assistance of two experienced mediators,

  Mr. Cohen and Mr. Max, who are well-respected mediators with extensive experience mediating



                                                   21
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 26 of 30 PageID 5893




     large consumer class actions. Mr. Cohen and Mx. Max ensured at all times that the negotiations

     remained professional and at arm’s-length. Ex. B at ¶ 46. Importantly, the Parties did not discuss

     or negotiate attorneys’ fees, costs, expenses, or service awards until all material terms of the

     Settlement were negotiated and agreed upon. Id. There is no doubt that this Settlement is free of

     collusion, which further supports a finding that the Settlement should be granted final approval.

     See Ingram v. The Coca-Cola Co., 200 F.R.D. 685, 693 (N.D. Ga. 2001) (“The fact that the entire

     mediation was conducted under the auspices of . . . a highly experienced mediator, lends further

     support to the absence of collusion.”); In re Telik, Inc. Sec. Litig., 576 F. Supp. 2d 570, 575

     (S.D.N.Y. 2008) (“[A] class action settlement enjoys a ‘presumption of correctness’ where it is the

     product of arm’s length negotiation conducted by experienced, capable counsel.”).

V.      THE NOTICE PLAN SATISFIED RULE 23 AND DUE PROCESS

            The Notice Plan preliminarily approved by this Court was carried out according to the

     terms of the Court’s order, Doc. 169 (adopting and confirming Judge Irick’s Report and

     Recommendation, Doc. 166), and satisfied Rule 23 and due process. “Rule 23(e)(1)(B) requires

     the court to direct notice in a reasonable manner to all class members who would be bound by a

     proposed settlement, voluntary dismissal, or compromise regardless of whether the class was

     certified under Rule 23(b)(1), (b)(2), or (b)(3).” Manual for Complex Litigation, Fourth, § 21.312.

     Reasonable notice is that which is “reasonably calculated, under all the circumstances, to apprise

     interested parties of the pendency of the action and afford them an opportunity to present their

     objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). In approving

     the Notice Plan in this case, the Court found that “the proposed manner of providing notice outlined

     in the Motion and Settlement Agreement is reasonably calculated to apprise the members of the

     action and settlement.” Doc. 166 at 24.




                                                      22
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 27 of 30 PageID 5894




         The Settlement Administrator, JND Legal Administration, carried out the terms of Notice

  Plan that were approved by the Court. First, direct email notice was sent to 466,779 individual

  email addresses. Ex. C at ¶ 8. Pursuant to the terms of the Settlement Agreement, JND mailed the

  Postcard Notice via first-class regular U.S. mail to the 218,491 Settlement Class Members whose

  emails were returned as undeliverable or for which no email address was provided. Id. at ¶ 9. Of

  those, JND had updated 49,827 addresses using the U.S. Postal Service National Change of

  Address database. As of June 28, 2019, JND tracked 1,814 Postcard Notices from the original

  mailing that were returned as undeliverable with a forwarding address. JND promptly re-mailed

  Notice to those with USPS forwarding addresses. As of June 28, 2019, 9,250 Postcard Notices

  were returned to JND as undeliverable without a forwarding address. Those 9,250 undeliverable

  Postcards constitute less than 2% of the total Class Members. Such direct notice, by email and

  mail, is presumptively reasonable and satisfied Due Process. See Weigner v. New York, 852 F.2d

  646, 650 (2d Cir. 1988) (“under most circumstances, notice sent by ordinary mail is deemed

  reasonably calculated to inform interested parties”); United States v. Derenak, 27 F. Supp. 2d 1300,

  1305 (M.D. Fla. 1998); see also Morgan v. Pub. Storage, 301 F. Supp. 3d 1237, 1261 (S.D. Fla.

  2016) (“In fact, email notice in class actions is becoming the preferred method of notification not

  only because it is reliable but it is actually more likely to be received by the Class members.”)

         Second, the Settlement Administrator established and maintained an informational,

  interactive website dedicated to the case to enable potential Settlement Class Members to find

  information about the litigation, file an online claim, and access downloadable copies of the Long-

  Form Notice, Claim Form, and other important court documents. Ex. C at ¶ 12 As of June 28,

  2019, the Settlement Website tracked 24,547 unique users who registered 78,188 pageviews. Ex.

  C at ¶13.




                                                   23
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 28 of 30 PageID 5895




              Finally, the Settlement Administrator delivered the required Class Action Fairness Act

      notice to United States Attorney General and appropriate officials, pursuant to 28 U.S.C. §1715(b).

      Ex. C at ¶¶ 3-4.

              Class Counsel have also assisted Settlement Class Members in understanding their options

      under the Settlement. Ex. B at ¶ 58. As the Notice lists Class Counsel’s phone number, Class

      Counsel has received hundreds of calls and inquiries, and has hired additional part-time help in

      order to ensure that all Settlement Class Members who call receive a prompt response. Id. Class

      Counsel have continued to respond to such inquiries and to monitor and assist the claims process.

      Id.

              Through the Notice Plan, Class Members received ample notice and have had the

      opportunity to exercise their rights; claims continue to be submitted to date, as the deadline for

      submitting claims is July 10, 2019. Accordingly, the notice that was executed was successful and

      complied with the Notice Plan approved by the Court, Rule 23, and due process.


VI.         CONCLUSION

              Plaintiffs’ instant motion is unopposed. No Class Member has objected to the Settlement

      and the Notice Plan directed by the Court was successfully executed by the Settlement

      Administrator. Therefore, the reasons stated in the adopted and confirmed Report and

      Recommendation for certification of the Classes and approval of the settlement remain sound.

      Accordingly, for the additional reasons stated herein, and those stated in Plaintiffs’ Unopposed

      Motion for Preliminary Approval (Doc. 162, 163) and Unopposed Motion for Fees, Costs,

      Expenses and Service Awards (Doc. 171), Plaintiffs respectfully request that the Court grant Final

      Approval of the Settlement, including finally certifying the Classes.




                                                      24
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 29 of 30 PageID 5896




  Dated: July 3, 2019                       /s/ Ed Normand
                                            Edmund A. Normand
                                            FBN: 865590
                                            /s/ Alex Couch
                                            Alex Ray Couch
                                            FBN: 118152
                                            NORMAND PLLC
                                            3165 McCrory Place, Ste. 175
                                            Orlando, FL 32803
                                            Tel: 407.603.6031
                                            ed@ednormand.com
                                            alex.couch@normandpllc.com
                                            service@normandpllc.com

                                            /s/ William C. Gray (pro hac vice)
                                            William C. Gray, Esq.
                                            GRAY LLC
                                            17 N. State Street
                                            Suite 1600
                                            Chicago, IL 60602
                                            Tel: 312.967.3653
                                            BGray@GrayLLCLaw.com

                                            Counsel for Plaintiffs




                                       25
Case 6:16-cv-01193-CEM-DCI Document 172 Filed 07/03/19 Page 30 of 30 PageID 5897




                                 EXHIBIT LIST

   Exhibit A                            Joint Stipulation of Settlement and Release

   Exhibit B                            Declaration of Edmund Normand

   Exhibit C                            JND Report and Notice Documents

   Exhibit D                            Declaration of Rodney Max

   Exhibit E                            Proposed Order




                                       26
